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                                                               U.S. v. Waldemar-Torres, 19-254
                                                               (PAD)


                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                         CRIMINAL NO. 19-254 PAD)
  Plaintiff,

                           v.

  WALDEMAR TORRES,
  Defendant.



                     PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

        The United States of America, Defendant, Waldemar Torres, and Defendant's

counsel, Lydia Lizarribar-Masini, Esq., pursuant to Federal Rule of Criminal

Procedure 11, state that they have reached a Plea Agreement, the terms and conditions

of which are as follows:

   1.            Charges to which Defendant will Plead Guilty
        Defendant agrees to plead guilty to Count Two of the Indictment:

        Count Two: On or about April 15, 2019, in the District of Puerto Rico and

within the jurisdiction of this Comt, the Defendant, Waldemar Torres, and co­

defendants, aiding and abetting each other, knowingly and unlawfully possess in and

affecting interstate and foreign commerce, two .40 caliber Glock with obliterated serial

numbers, one .40 caliber Glock pistol, serial number BEUF903, and 99 rounds of .40

caliber ammunition. All in violation of 18 U.S.C. §§ 922(g)(l), 924(a)(2), and 2.



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   2.         Maximum Penalties

        Count Two: The maximum statutory penalty for the offense charged in Count

Two of the Indictment, is a term of imprisonment of ten years pursuant to 18 U.S.C.

§ 924(a)(2); a fine not to exceed two hundred and fifty thousand dollars pursuant to

18 U.S.C. § 3571(b)(3); and a supervised release term of not more than three years,

pursuant to 18 U.S.C. § 3583(b)(2).

   3.         Sentencing Guidelines Applicability

        Defendant understands that the sentence will be imposed by the Court in

accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines

(hereinafter "Guidelines"), which are advisory pursuant to the United States Supreme

Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant

acknowledges that parole has been abolished, and that the imposition of Defendant's

sentence may not be suspended.

   4.         Special Monetary Assessment

        Defendant agrees to pay a special monetary assessment ("SMA") of one

hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the

Crime Victim Fund, pursuant to 18 U.S.C. § 301 3 (a)(2)(A).

   5.         Fines and Restitution

        The Court may, pursuant to Section SE 1.2 of the Guidelines order Defendant

to pay a fine. The Court may also impose restitution. Defendant agrees to execute


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and make available, prior to sentencing, a standardized financial statement (OBD

Form 500). The United States will advocate on behalf of any identified victim, and

comply with its obligations under the Mandatory Victim Restitution Act of 1996.

   6.         Sentence to be Determined by the Court

        Defendant understands that the sentence to be imposed will be determined

solely by the United States District Judge. The United States cannot make and has not

made any promise or representation as to what sentence Defendant will receive. Any

discussions that the parties might have had about possible sentences are not binding in

any way on the Court, and do not constitute representations about what the parties

will seek, or what the actual sentence will be.

   7.         Recommended Sentencing Guidelines Calculations

        After due consideration of the relevant factors enumerated in 18 U.S.C. §

3553(a), the United States and Defendant submit that the advisory Guidelines

calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.


                                  [Intentionally left blank]




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               SENTENCING GUIDELINES CALCULATIONS
                                  COUNT TWO
                               18 u.s.c. § 922(g)(l)
       Base Offense Level pursuant to U.S.S.G. § 2k2. l                    20
    Obliterated Serial Number pursuant to U.S.S.G. § 2k2. l                +4
 Acceptance of Responsibility pursuant to U.S.S.G. §3El .1
                                                                            -3
 TOTAL ADJUSTED OFFENSE LEVEL
                                                                          21
 CH Cat. I     CH Cat. II CH Cat. III       CH Cat. IV     CH Cat. V     CH Cat. VI
    37-46         41-51         46-57          57-71          70-87         77-96


   8.         Sentence Recommendation

        As to Count Two, and after due consideration of the relevant factors

enumerated in 18 U.S.C. § 3553(a), the parties agree that the parties will request

a sentence of within the applicable Guidelines range at a total offense level of 21

when combined with the criminal history category determined by the Court.

        The parties agree that any recommendation by either party for a term of

imprisonment below or above the stipulated sentence recommendation will constitute

a material breach of the Plea Agreement.

   9.         No Stipulation as to Criminal History Category

        The parties do not stipulate as to any Criminal History Category for Defendant.




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   10.         Waiver of Appeal

         Defendant knowingly and voluntarily agrees that, if the sentence imposed by

the Court is within or below the Guidelines range for the total offense level calculated

in this Plea Agreement when combined with Defendant's criminal history category as

determined by the Court, Defendant waives the right to appeal any aspect of this case's

judgment and sentence, including, but not limited to the term of imprisonment or

probation, restitution, fines, forfeiture, and the term and conditions of supervised

release.

   11.         No Further Adjustments or Departures

         The United States and Defendant agree that no further adjustments or

departures to Defendant's total adjusted base offense level and no variant sentence

under 18 U.S.C. § 3553-other than any explicitly provided for in this Plea

Agreement-shall be sought by Defendant. The parties agree that any request by

Defendant for an adjustment or departure that is not explicitly provided for in this Plea

Agreement will be considered a material breach of this Plea Agreement, and the

United States will be free to ask for any sentence, either guideline or statutory.

   12.         Satisfaction with Counsel

         Defendant is satisfied with counsel, Lydia Lizarribar-Masini Esq., and asserts

that counsel has rendered effective legal assistance.




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    13.         Rights Surrendered by Defendant Through Guilty Plea

          Defendant understands that by entering into this Plea Agreement, Defendant

surrenders and waives certain rights as detailed in this agreement.              Defendant

understands that the rights of criminal defendants include the following:

             a. If Defendant had persisted in a plea of not guilty to the charges,
                Defendant would have had the right to a speedy jury trial with the
                assistance of counsel. The trial may be conducted by a judge sitting
                without a jury if Defendant, the United States and the judge agree.

             b. If a jury trial is conducted, the jury would be composed of twelve lay
                persons selected at random. Defendant and Defendant's attorney would
                assist in selecting the jurors by removing prospective jurors for cause
                where actual bias or other disqualification is shown, or by removing
                prospective jurors without cause by exercising peremptory challenges.
                The jury would have to agree, unanimously, before it could return a
                verdict of either guilty or not guilty. The jury would be instructed that
                Defendant is presumed innocent, that it could not convict Defendant
                unless, after hearing all the evidence, it was persuaded of Defendant's
                guilt beyond a reasonable doubt, and that it was to consider each charge
                separately.

            c. If a trial is held by the judge without a jury, the judge would find the facts
               and, after hearing all the evidence and considering each count separately,
               determine whether or not the evidence established Defendant's guilt
               beyond a reasonable doubt.

            d. At a trial, the United States would be required to present its witnesses
               and other evidence against Defendant. Defendant would be able to
               confront those witnesses and Defendant's attorney would be able to
               cross-examine them. In turn, Defendant could present witnesses and
               other evidence on Defendant's own behalf. If the witnesses for Defendant
               would not appear voluntarily, Defendant could require their attendance
               through the subpoena power of the Court.

            e. At a trial, Defendant could rely on the privilege against self-incrimination
               to decline to testify, and no inference of guilt could be drawn from
               Defendant's refusal to testify. If Defendant desired to do so, Defendant
               could testify on Defendant's own behalf.

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   14.         Stipulation of Facts

         The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Pacts and

agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

that had the matter proceeded to trial, the United States would have proven those facts

beyond a reasonable doubt.

   15.         Limitations of Plea Agreement

         This Plea Agreement binds only the United States Attorney's Office for the

District of Puerto Rico and Defendant. It does not bind any other federal district,

state, or local authorities.

   16.         Entirety of Plea Agreement

         This written agreement constitutes the complete Plea Agreement between the

United States, Defendant, and Defendant's counsel. The United States has made no

promises or representations except as set forth in writing in this Plea Agreement and

denies the existence of any other terms and conditions not stated herein.

   17.         Amendments to Plea Agreement

         No other promises, terms or conditions will be entered into between the parties

unless they are in writing and signed by all parties.




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          18.          Dismissal of Remaining Counts

                 At sentencing should there be any pending counts and should the Defendant

       comply with the terms of this Plea Agreement, the United States will move to dismiss

       the remaining counts of the Indictment pending against Defendant in this case.

           19.         Voluntariness of Plea Agreement

                 Defendant acknowledges that no threats have been made against Defendant and

       that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

          20.          Breach and Waiver

                 Defendant agrees that defendant will have breached this Plea Agreement if,

       after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill

       completely each and every one of Defendant's obligations under this Plea Agreement;


o-,{   (b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

J·     Defendant's guilty plea. In the event of such a breach, the United States will be free

       from its obligation under this Plea Agreement and Defendant will not have the right

       to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach

       of the Plea Agreement, Defendant is deemed to have waived any objection to the

       reinstatement of any charges under the Indictment, Information, or complaint which

       may have previously been dismissed or which may have not been previously

       prosecuted.

          21.          Potential Impact on hnmigration Status

                Pursuant to Federal Rule of Criminal Procedure I l (b)(1)(0), Defendant hereby


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agrees and recognizes that if convicted, a Defendant who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.

   22.         Felony Conviction

         Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.




                              [space intentionally left blank]




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                                                                                       A




   23.        Firearms and Ammunition Forfeiture

         Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c), Defendant agrees to

forfeit Defendant's rights and interest any firearms and ammunition involved or used

in the commission of the offense, including, but not limited to: two .40 caliber Glock

pistols with obliterated serial numbers, one .40 caliber Glock pistol SIN: BEUF903,

and 99 rounds of .40 caliber ammunition.



W. STEPHEN MULDROW



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                                                    Lydia Lizarribar-Masini
Assistant U.S. Attorney, Chief                      Counsel for
Transnation Qrganized Crime Section                 Dated:               ""L--
Dated: 2 t:S J-z, I




Vanessa E. Bonhomme
                                                    Wk�b---
                                                    wa1demar Torre;
Assistant U.S. Attorney, Deputy Chief               Defendant    ·c;jt �(
Transnationa O ganized Crime Section                Dated:    J �        0
Dated:     2. 1> W2.A




Richard Passanisi
Assistant U.S. Attorney
Dated: .Ji -.J-::? /




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                          UNDERSTANDING OF RIGHTS
       I have consulted with counsel and fully understand all of my rights as to the

charges pending against me. Further, I have consulted with my attorney and fully

understand my rights as to the provisions of the Guidelines that may apply in my

case. I have read this Plea Agreement and carefully reviewed every part of it with

my attorney. My counsel has translated the Plea Agreement to me in the Spanish

language and I have no doubts as to the contents of the agreement. I fully

understand his agreement and voluntarily agree to it.

                                         Malk- �-----
                                              wa1demar Torres
                                              Defendant

       I am the attorney for Defendant. I have fully explained Defendant's rights to

Defendant with respect to the pending charges. Further, I have reviewed the

applicable provisions of the Guidelines and I have fully explained to Defendant the

provisions of those Guidelines that may apply in this case. I have carefully reviewed

every part of this Plea Agreement with Defendant. I have translated the Plea

Agreement and explained it in the Spanish language to the Defendant who has

expressed having no doubts as to the contents of the agreement. To my knowledge,

Defendant is entering into this Plea Agreement voluntarily, intelligently, and with

full knowledge of all consequences of Defendant's plea of guilty.

      Date: � (;, { 'l, \                       c:--
                                               Lydia Lizarriba -
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                                                                 asini
                                               Counsel for Defendant



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                            STIPULATION OF FACTS
       In conjunction with the submission of the accompanying Plea Agreement in

this case, the Defendant Waldemar Torres admits that Defendant is guilty as charged

in the Indictment and admits the following: On April 15, 2019, this defendant,

Waldemar Torres, along with three co-defendants, entered the parking lot of the Santa

Ana Cash and Carry located near road 5556, Santa Ana Ward, in Coamo, P.R. in a

Chrysler 300 vehicle. A security guard watched the defendants loiter around the rear

of the vehicle with the open trunk and called police. Shortly thereafter, in response to

the call, Municipal Police arrived in the parking lot followed by Puerto Rico Police

agents.

       As the municipal police were pulling into the parking lot, the security guard

observed the four individuals remove a duffel bag from the trunk of the vehicle and

hide it in the brush. The security guard relayed this information to Puerto Rico police

agents who recovered the bag hidden in the brush behind the defendants' vehicle.

Inside the bag, the agents recovered three loaded Glock pistols, 27 additional rounds

of ammunition, 20 feet of rope and black tape. Two of the Glock pistols had serial

numbers that were obliterated. All four defendants, including Waldemar Torres, were

placed under arrest.

      Further investigation revealed that recovered firearms and ammunition were

transported through interstate and foreign commerce. Defendant Torres hereby

admits that he knowingly possessed the three firearms recovered in this case and

that he knew two of the Glock firearms had serial numbers that were altered,
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obliterated and removed. Additionally, defendant hereby admits that he knew he was

a convicted felon at the time he was convicted of this offense, having been convicted

of a crime punishable by a term of imprisonment exceeding one year.

       Had this matter proceeded to trial, the United States would have presented

evidence through the testimony of witnesses as well as physical and documentary

evidence, which would have proven beyond a reasonable doubt defendant's guilt. At

trial, the United States would have proven beyond a reasonab�doubt that defendant . �
                                              'f�o � .\                          .( /
Waldemar Torres is guilty as charged in Count� of the indictment. Discovery was  &;

made available, in a timely manner, for Defendant's review.


                                                                   --------..
Richard Passanisi                            Lydia Lizarribar-Masini
Assistant United States Attorney             Counsel fot{{er,dmit
Dated: -=<-,,?-.:2 J ;
                                             Dated:        '- 'd--1




                                             Defendant
                                             Dated: -�'--1---1�---




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